                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District of Connecticut



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                                                      December 19, 2017                          r-J
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Evan T.L. Hughes, Esquire                                                                         ,-~,


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Hughes Firm, LLC                                                                                   ~
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1845 Walnut Street                                                                                 c.D    r-
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Suite 932                                                                                           -o     0
Philadelphia, PA 19103                                                                              :3
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       Re :    United States v. Wil.lia,!)l- Pn ~co                                      -
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               Case No. 3: 17- R ~ ( WT)                                                              0


Dear Attorney Hughes:

       This letter confirms the plea agreement between your client, William Fusco (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") concerning the referenced criminal matter.

THE PLEA AND OFFENSE

        William Fusco agrees to waive his right to be indicted and to plead guilty to a two-count
information charging him in Count One with Conspiracy to Possess with Intent to Distribute and
to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 846, 841(b)(l)(E)(i) and
841 (b)(2) and in Count Two with Unlawful Importing of a Tableting Machine, in violation of 21
U.S.C. § 843(a)(7) and 18 U.~.C. § 2. \1(2.._
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COUNT ONE                                   tv f
      The defendant understands that, to be guilty of this offense, the following essential
elements of the offense must be satisfied:

       1.     From May 2016 to June 2017, a conspiracy, i.e., an agreement, existed between
              two or more persons to possess with intent to distribute and to distribute controlled
              substances as charged in Count One of the Information; and
       2.     The defendant knowingly and intentionally agreed to participate in the conspiracy.
Evan Hughes, Esq.
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COUNT TWO

      The defendant understands that, to be guilty of this offense, the following essential
elements of the offense must be satisfied:

        1.     In June 2017, the defendant imported a tableting machine;
        2.     The tableting machine could be used to manufacture a controlled substance; and
        3.     The defendant knew and intended that the tableting machine would be used to
               manufacture a controlled substance.

THE PENAL TIES

       Count One

       This offense carries a maximum penalty of 10 years of imprisonment and a $500,000 fine
Moreover, any sentence of incarceration under this provision must also include a term of
supervised release of at least two years and as much as life. 21 U.S.C. § 84l(b)(l)(E)(i). The
defendant understands that, should he violate any condition of supervised release, he may be
required to serve a further term of imprisonment of up to two years per violation pursuant to 18
U.S.C. § 3583 with no credit for time already spent on supervised release.

        The defendant is also subject to the alternative fine provision of 18 U.S.C. § 3571. Under
this section, the maximum fine that may be imposed on the defendant is the greatest of the
following amounts: (1) twice the gross gain to the defendant resulting from the offense; (2) twice
the gross loss resulting from the offense; or (3) the amount specified in the section defining the
offense which is $500,000.

       Count Two

         This offense carries a maximum penalty of 4 years of imprisonment and a $250,000 fine
Moreover, any sentence of incarceration under this provision may also include a term of supervised
release of no more than one year. The defendant understands that, should he violate any condition
of supervised release, he may be required to serve a further term of imprisonment of up to one year
per violation pursuant to 18 U.S.C. § 3583 with no credit for time already spent on supervised
release.

        The defendant is also subject to the alternative fine provision of 18 U.S.C. § 3571. Under
this section, the maximum fine that may be imposed on the defendant is the greatest of the
following amounts: (1) twice the gross gain to the defendant resulting from the offense; (2) twice
the gross loss resulting from the offense; or (3) $250,000.

        In addition, the defendant is obligated by 18 U.S. C. § 3013 to pay a special assessment of
$100 on each count of conviction, which totals in this case $200. The defendant agrees to pay the
special assessment to the Clerk of the Court on the day the guilty plea is accepted.
Evan Hughes, Esq.
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       Forfeiture

        Pursuant to 21 U.S.C. § 853(a), the defendant agrees to forfeit to the United States his
interest in the following property, which is listed in the Forfeiture Allegation of the Information,
all of which was seized from the defendant on the date ofhis arrest:

GUNS AND MAGAZINES:

   1. EXHIBIT# N-45: One Kahr Pistol bearing serial number IQ8747
   2. EXHIBIT# N-46: Ammunition from N-45 (Kahr 9mm Pistol)
   3. EXHIBIT# N-47: One XDM Springfield Pistol bearing serial number MG896959
   4. EXHIBIT# N-48: Magazines from Springfield XDM 9mm Pistol (N-47)
   5. EXHIBIT# N-49: One Heritage Pistol bearing serial number C69585
   6. EXHIBIT# N-51: One F1 Rifle bearing serial number 120-02478
   7. EXHIBIT# N-52: Magazine from F1 Rifle (N-51)
   8. EXHIBIT# N-53: One Glock Pistol9mm bearing serial number ABRV975
   9. EXHIBIT# N-54: Magazine and ammunition from Glock 9mm Pistol (N-53)
   10. EXHIBIT# N-55: One Remington Pistol.380 bearing serial number RM006542C
   11. EXHIBIT# N-56: Magazines and Ammunition from Remington .380 (N-55)
   12. EXHIBIT# N-57: One Smith and Wesson Revolver .38 bearing serial number CPJ7017
   13. EXHIBIT# N-58: Ammunition from Smith and Wesson .38 revolver (N-57)
   14. EXHIBIT# N-59: One Glock 27 Pistol bearing serial number HBK051
   15. EXHIBIT# N-60: Magazine from Glock 27 .40 Caliber pistol (N-59)

ELECTRONICS:

   1. EXHIBIT# N-44: Three Thumb Drives
   2. EXHIBIT# N-71: Large Hard Drive
   3. EXHIBIT# N-72: Small Hard Drive
   4. EXHIBIT # N-73: PlayStation Gaming system
   5. EXHIBIT #N-74: X-Box gaming system
   6. EXHIBIT# N-75: iPhone 4 with white case
   7. EXHIBIT# N-76: iPhone 4 color black and silver (no case)
   8. EXHIBIT# N-77: Google Cell phone with Captain America Case
   9. EXHIBIT# N-78: Pink Laptop
   10. EXHIBIT # N-79: Verizon Ellipsis Tablet
   11. EXHIBIT# N-80: iPad
   12. EXHIBIT #N-81: Asus Laptop
   13. EXHIBIT# N-82: 2 Thumb Drives
   14. EXHIBIT# N-83: Black Laptop and Ledger Nano 5 (Bitcoin Wallet)
   15. EXHIBIT# N-84: White iPod
   16. EXHIBIT# N-85: Go Pro Camera
   17. EXHIBIT# N-86: Samsung Galaxy S8 Plus cell phone
Evan Hughes, Esq.
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        Additionally, the defendant agrees to forfeit any and all interest in any and all
cryptocurrency accounts as well as $23,819.38 that was maintained in his Bitcoin account prior to
being transferred following his arrest and $42,448 seized from his home on the date of his arrest.

          The defendant acknowledges that the property described above is forfeitable as property
that represents the proceeds of, or was used to facilitate the commission of, the narcotics violation
in Count One of the Information. The defendant agrees to waive all interests in this asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or federal. The
defendant agrees to consent to the entry of an order of forfeiture for the forfeitable asset and waives
the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. The defendant acknowledges that he understands
that the forfeiture of asset is part of the sentence that may be imposed in this case and waives any
failure by the Court to advise him of this, pursuant to Federal Rule of Criminal Procedure
11 (b )(1 )(J), at the time his guilty plea is accepted.

        The defendant agrees to hold the United States, its agents and employees harmless from
any claims whatsoever in connection with the seizure or forfeiture of the above listed asset covered
by this agreement. The defendant further agrees to waive all constitutional and statutory
challenges in any manner to any forfeiture carried out in accordance with this plea agreement on
any grounds. The defendant also understands and agrees that by virtue of his plea of guilty he
waives any rights or cause of action to claim that he is a "substantially prevailing party" for the
purpose of recovery of attorney fees and other litigation costs in any related forfeiture proceeding
pursuant to 28 U.S.C. § 2465(b)(l).


THE SENTENCING GUIDELINES

       Applicability

        The defendant understands that the Court is required to consider any applicable Sentencing
Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an appropriate
sentence in this case and is not bound by this plea agreement. The defendant agrees that the
Sentencing Guideline determinations will be made by the Court, by a preponderance of the
evidence, based upon input from the defendant, the Government, and the United States Probation
Office. The defendant further understands that he has no right to withdraw his guilty plea if his
sentence or the Guideline application is other than he anticipated, including if the sentence is
outside any of the ranges set forth in this agreement.

       Acceptance of Responsibility

        At this time, the Government agrees to recommend that the Court reduce by two levels the
defendant's adjusted offense level under§ 3El.l(a) of the Sentencing Guidelines, based on the
defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under§ 3El.l(a) and his offense
level determined prior to the operation of subsection (a) is level16 or greater, the Government will
file a motion with the Court pursuant to§ 3El.l(b) which recommends that the Court reduce the
Evan Hughes, Esq.
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defendant's Adjusted Offense Level by one additional level based on his prompt notification of
his intention to enter a plea of guilty. The defendant understands that the Court is not obligated to
accept the Government's recommendations on the reductions.

        The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising
the offense(s) of conviction and truthfully admitting or not falsely denying any additional relevant
conduct for which the defendant is accountable under§ 1Bl.3 of the Sentencing Guidelines, and
(2) truthfully disclosing to the United States Attorney's Office and the United States Probation
Office personal information requested, including the submission of a complete and truthful
financial statement detailing the defendant's financial condition.

         In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the Government
at the time of the signing of this agreement, which ( 1) indicate that the defendant has not terminated
or withdrawn from criminal conduct or associations (§ 3El.1 of the Sentencing Guidelines); (2)
could provide a basis for an adjustment for obstructing or impeding the administration of justice
(§ 3Cl.1 of the Sentencing Guidelines); or (3) constitute a violation of any condition of release.
Moreover, the Government reserves the right to seek denial of the adjustment for acceptance of
responsibility if the defendant seeks to withdraw his guilty plea or takes a position at sentencing,
or otherwise, which, in the Government's assessment, is inconsistent with affirmative acceptance
of personal responsibility. The defendant understands that he may not withdraw his plea of guilty
if, for the reasons explained above, the Government does not make one or both of the
recommendations or seeks denial of the adjustment for acceptance of responsibility.

        Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government have
entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional relevant
facts that subsequently come to their attention.

        Guideline Stipulation

       The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.

       Count One

         Pursuant to U.S.S.G. §§ 1Bl.3 and 2Dl.l(c)(13) and note 8 to§ 2Dl.1, the base offense
level is 16 because the defendant conspired to possess at least 213,868 pills consisting of a mixture
Evan Hughes, Esq.
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and substance containing alprazolam (a schedule IV substance, which converts to 13, 366.75 grams
of marijuana) and 26,040 units of a mixture and substance containing anabolic steroids (a schedule
III substance, which converts to 26,040 grams of marijuana), resulting in an aggregate amount of
39 kilograms of marijuana.

       The government contends that two levels are added pursuant to U.S.S.G. § 2D1.1(b)(l)
because the defendant possessed a dangerous weapon. The defendant admits to maintaining
firearms in his home, but reserves his right to argue the inapplicability of this guideline.

         Two more levels are added pursuant to U.S.S.G. § 2Dl.1(b)(7) because the defendant
distributed a controlled substance through mass-marketing by means of an interactive computer
service.

       Two more levels are added pursuant to U.S.S.G. § 2D1.1(b)(12) because the defendant
maintained premises for the purpose of manufacturing a controlled substance.

       Two more levels are added pursuant to U.S.S.G. § 3B 1.1 because the defendant was an
organizer, leader, manager or supervisor of the criminal conduct.

       Under the government's theory, the resulting adjusted offense level would be 24. If the
defendant were to prevail with respect to the gun enhancement, the resulting adjusted offense level
would be 22.

        Count Two

       Pursuant to U.S.S.G. § 2D1.12, the base offense level is 12 because the defendant
intended to manufacture a controlled substance with the imported and prohibited pill press.

        Two levels are added pursuant to U.S.S.G. § 2D1.1(b)(7) because the defendant distributed
a controlled substance through mass-marketing by means of an interactive computer service.

        Two levels are added pursuant to U.S.S.G. § 3B1.1 because the defendant was an organizer,
leader, manager or supervisor of the criminal conduct.

       The resulting adjusted offense level would be 16.

       Combined Offense Level

        Pursuant to U.S.S.G. § 3D1.4, the highest base offense level is either 24 or 22 for Count
One, which is one unit. Because the difference between the base offense levels are between five
and eight levels apart, half a unit is assigned to Count Two. Thus, there are one and a half units in
the combined offense level, resulting in an additional point pursuant to U.S.S.G. § 3D 1.4(b). Three
levels are subtracted under U.S.S.G. § 3E1.1 for acceptance of responsibility, as noted above,
resulting in a total adjusted offense level of either 22 or 20.
Evan Hughes, Esq.
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       Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate.

         A total offense level 22, assuming a Criminal History Category I, would result in a range
of 41 to 51 months of imprisonment (sentencing table) and a fine range of $15,000 to $150,000,
U.S.S.G. § 5E1.2(c)(3). A total offense level 20, assuming a Criminal History Category I, would
result in a range of33 to 41 months of imprisonment (sentencing table) and a fine range of$15,000
to $150,000, U.S.S.G. § 5E1.2(c)(3). Under either scenario, the defendant is also subject to a
supervised release term of at least two years. U.S.S.G. § 5D1.2.

       The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-Guidelines
sentence.

       The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in this
agreement.

          In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination, even
if it differs from that stipulated by the parties, in any post-sentencing proceeding.

       Waiver of Right to Appeal or Collaterally Attack Conviction and Sentence

        The defendant acknowledges that under certain circumstances he is entitled to challenge
his conviction and sentence. The defendant agrees not to appeal or collaterally attack his
conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255 and/or
§ 2241. Nor will he pursue such an appeal or collateral attack to challenge the sentence imposed
by the Court if that sentence does not exceed 51 months of imprisonment, a life-time term of
supervised release, a fine of$150,000, $200 special assessment, and forfeiture as delineated herein
even if the Court imposes such a sentence based on an analysis different from that specified above.
The Government and the defendant agree that this waiver applies regardless of whether the term
of imprisonment is imposed to run consecutively to or concurrently with, in whole or in part, the
undischarged portion of any other sentence that has been imposed on the defendant at the time of
sentencing in this case. The defendant acknowledges that he is knowingly and intelligently
waiving these rights. Furthermore, the parties agree that any challenge to the defendant's sentence
that is not foreclosed by this provision will be limited to that portion of the sentence that is
inconsistent with (or not addressed by) this waiver. Nothing in the foregoing waiver of appellate
and collateral review rights shall preclude the defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.
Evan Hughes, Esq.
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        Information to the Court

          The Government reserves its right to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this case,
including information regarding the defendant's background and character, 18 U.S. C. § 3661, with
the United States Probation Office and will provide the Probation Officer with access to material
in its file, with the exception of grand jury material.

WAIVER OF RIGHTS

        Waiver of Right to Indictment

        The defendant understands that he has the right to have the facts of this case presented to a
federal grand jury, consisting ofbetween sixteen and twenty-three citizens, twelve of whom would
have to find probable cause to believe that he committed the offense set forth in the information
before an indictment could be returned. The defendant acknowledges that he is knowingly and
intelligently waiving his right to be indicted.

        Waiver of Trial Rights and Conseguences of Guilty Plea

       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.

        The defendant understands that he has the right to plead not guilty or to persist in that plea
if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court, there
will not be a further trial of any kind.

       The defendant understands that, if he pleads guilty, the Court may ask him questions about
each offense to which he pleads guilty, and if he answers those questions falsely under oath, on
the record, and in the presence of counsel, his answers may later be used against him in a
prosecution for pe:tjury or making false statements.

       Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement of
such prosecution. The defendant agrees to waive all defenses based on the statute of limitations
with respect to any prosecution that is not time-barred on the date the plea agreement is signed.
Evan Hughes, Esq.
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ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

         The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because he is guilty. The defendant further acknowledges that he is entering
into this agreement without reliance upon any discussions between the Government and him (other
than those described in the plea agreement letter), without promise of benefit of any kind (other
than the concessions contained in the plea agreement letter), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges his understanding of
the nature of the offense to which he is pleading guilty, including the penalties provided by law.
The defendant also acknowledges his complete satisfaction with the representation and advice
received from his undersigned attorney. The defendant and his undersigned counsel are unaware
of any conflict of interest concerning counsel's representation of the defendant in the
case.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving him.

COLLATERAL CONSEQUENCES

         The defendant understands that he will be adjudicated guilty of each offense to which he
has pleaded guilty and may thereby be deprived of certain federal benefits as provided in 21 U.S.C.
§ 862 and will be deprived of certain rights, such as the right to hold public office, to serve on a
jury, to possess firearms and ammunition, and in some states, the right to vote. Further, the
defendant understands that if he is not a citizen of the United States, a plea of guilty may result in
removal from the United States, denial of citizenship, and denial of admission to the United States
in the future. The defendant understands that pursuant to section 203(b) of the Justice For All Act,
the Federal Bureau of Prisons or the United States Probation Office will collect a DNA sample
from the defendant for analysis and indexing. Finally, the defendant understands that the
Government reserves the right to notify any state or federal agency by which he is licensed, or
with which he does business, as well as any current or future employer of the fact ofhis conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of his participation in the
distribution of Xanax and anabolic steroids and importing of pill press machines during the dates
listed in the Information, which forms the basis of the information in this case.
Evan Hughes, Esq.
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        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the Government
may void all or part of this agreement. If the agreement is voided in whole or in part, defendant
will not be permitted to withdraw his guilty plea.



NO OTHER PROMISES

        The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.

       This letter shall be presented to the Court, in open court, and filed in this case.

                                              Very truly yours,

                                              JOHN H. DURHAM
                                              UNITED STATES ATTORNEY




        The defendant certifies that he has read this plea agreement letter and its attachrnent(s) or
has had it read or translated to him, that he has had ample time to discuss this agreement and its
attachrnent(s) with counsel and that he fully understands and accepts its terms.



WILLIAM FUSCO
The Defendant


       I have thoroughly read, reviewed and explained this plea agreement and its attachrnent(s)
to my client wbo advises me that he understands and accepts its terms.


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EVAN HUGHES, ESQ.                                     Date
Attorney for the Defendant
Evan Hughes, Esq.
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                         STIPULATION OF OFFENSE CONDUCT

         The defendant and the Government stipulate to the following offense conduct that gives
rise to the defendant's agreement to plead guilty to the Information:

        From at least May 2016 to June 2017, the defendant knowingly and willingly conspired
with others, including but not limited to Jason Chen, to possess with intent to distribute and to
distribute controlled substances, namely, a mixture and substance containing a1prazolam and a
mixture and substance containing anabolic steroids. As part of the conspiracy, the defendant
conspired to distribute more than 213,000 counterfeit Xanax pills and more than 26,000 units of
anabolic steroids. The defendant advertised the sale of and sold these controlled substances on
various dark web markets. He used his home and Chen's home as drug processing plants. He
further maintained numerous firearms at his home alongside his controlled substances and the
profits from his drug trafficking. In furtherance of this conspiracy, the defendant in June 2017
knowingly and intentionally imported a tableting machine so as to press Xanax pills for
distribution. The defendant was an organizer and leader of the drug distribution conspiracy,
directing others including but not limited to Chen, to ship controlled substances to his customers.

        This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional relevant offense conduct to the Court in connection with
sentencing.



WILLIAM FUSCO
The Defendant
                                         ~~  ASSISTANT UNITED STATES ATTORNEY




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Attorney for the Defendant
